Case 2:04-cr-20177-.]DB Document 103 Filed 08/25/05 Page 1 of 2 Page|D 86

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uNlTED sTATEs oF AMERch, ) Cl£Rit U,§. €)€S?RSCYCOUT
) W/D Or m MEMPHIS
P|aintiff, )
)
vs. ) Cr. No.: 04-20177-B
)
GERALD RAYBoRN, )
)
Defendant. )

 

ORDER

 

This matter, Motion for Extension to file Pre|iminary Order, was brought to this Court
by the United States on behalf of the parties The parties request additional time, 15 days
from the date of this Order, to file a joint preliminary order or separate preliminary orders.
The parties believe that this additional time may allow the parties to present a joint
preliminary order to the Court, and after fully considering this matter, and for good cause
shown,

|T IS ORDERED that the parties shall file a joint preliminary order or separate

preliminary orders within 15 days of the date this Order is entered.

Entered this L‘q"day of W 2005.

.D lEL BREEN \~
ite States District Judge

 

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UNITED sTEATS DISTRIC COURT - WESTERN DISITRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:04-CR-20177 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

